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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

    Civil Action No. 1:20-cv-02878-DDD-MEH

    ROTHSCHILD BROADCAST DISTRIBUTION SYSTEMS, LLC,
              Plaintiff,

    v.

     ZOOM VIDEO COMMUNICATIONS, INC.,

                  Defendant.


          DEFENDANT ZOOM VIDEO COMMUNICATIONS, INC.’S MOTION TO
                    TRANSFER VENUE UNDER 28 U.S.C. § 1404




                               CERTIFICATE OF COMPLIANCE

          Pursuant to Local Rule 7.1(a), the undersigned counsel certifies that on October 27, 2020,

   counsel for Defendant Zoom Video Communications, Inc. conferred by telephone with counsel

   for Plaintiff Rothschild Broadcast Distribution Systems, LLC concerning this motion. Pursuant

   to Local Patent Rule 17, the brief and memorandum of points and authorities supporting this

   motion contains less than 10,000 words.




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   I.      INTRODUCTION

           The Northern District of California is a much more convenient venue for Plaintiff

   Rothschild Broadcast Distribution Systems, LLC’s (“Rothschild”) patent infringement action

   against Zoom Video Communications, Inc. (“Zoom”), as neither Rothschild nor Zoom are

   headquartered in Colorado. All of the witnesses most likely to have relevant information—

   Zoom’s engineering, research and development, marketing, financial, and legal teams—are

   based in either Zoom’s San Jose headquarters or in China, as are the documents most likely to be

   used as evidence. Meanwhile, Rothschild has not alleged that it has any ties to this District, nor

   do there appear to be any relevant witnesses for which Colorado would be a more convenient

   location than the San Francisco Bay Area. Instead, Rothschild bases its choice of venue solely

   on the existence of a sales-focused satellite office that Zoom maintains in Denver.

           Because Rothschild is not based in Colorado, and the facts giving rise to this suit have no

   material relation or connection to this District, Rothschild’s choice of forum is entitled to no

   weight—and the interests of justice weigh uniformly in support of transferring this matter to the

   Northern District of California (the “Northern District”).

   II.     FACTUAL BACKGROUND

           A.      Rothschild and the Asserted Patents

           Rothschild is a Texas limited liability company with its principal place of business in

   Miami, Florida. (Compl. ¶ 1, ECF No. 1.) Rothschild’s only known asset is the single patent

   asserted in this matter.

           On September 22, 2020, Rothschild sued Zoom in this District, asserting infringement of

   U.S. Patent No. 8,856,221 (the “’221 Patent”), entitled “System and Method for Storing




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   Broadcast Content in a Cloud-Based Computing Environment.” This patent relates generally to a

   system, method, and device for on-demand storage and delivery of media content.

            B.      Zoom

            Zoom is a California-based video communications firm that has been developing

   innovative conferencing technologies since its founding in 2011. Zoom’s flagship product is its

   videoconferencing software, which allows businesses, organizations, and individuals to interact

   in a simple, frictionless way.

            Zoom is headquartered in San Jose, California, in the Northern District. (Declaration of

   Raghu Rao submitted herewith (“Rao Decl.”) ¶ 6.) Zoom has been headquartered in the

   Northern District since its inception and is incorporated in Delaware. (Id. ¶¶ 5, 8.) Zoom’s

   principal executive offices are in San Jose, which is also where its CEO, Eric Yuan, is based.

   (Id. ¶ 7.) The San Jose office houses the majority of U.S. Zoom personnel who work on product

   development and support, including virtually all of Zoom’s product and marketplace teams, as

   well as its key engineers. (Id. ¶ 10.) Zoom has four other offices in the United States and five

   other offices abroad. 1 (Id. ¶ 11.) The San Jose office, with 87,000 square feet of leased

   commercial space and approximately 660 employees, is Zoom’s largest office in the United

   States. (Id. ¶ 12.) Zoom’s Denver office has approximately 517 employees, primarily working

   on enterprise sales. (Id. ¶ 13.)

            Zoom’s technical operations are based in its San Jose office. (Id. ¶ 14.) In its complaint,




   1
       Zoom has a total of approximately 40 worldwide leases.




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   Rothschild appears to accuse Zoom’s Cloud Recording product. 2 (Compl. ¶¶ 18-24.) This

   product was developed by Zoom’s engineering team working primarily out of San Jose and

   China. (Rao Decl. ¶ 16.) This product was not researched, designed, or developed by engineers

   based in Zoom’s Colorado office. (Id. ¶ 17.) Even now, the vast majority of Zoom’s employees

   with knowledge of and access to the technical documents and source code likely to be relevant in

   this case work at Zoom’s headquarters in San Jose or in China. (Id. ¶ 18.)

          Zoom’s management teams for its financial, legal, research and development, and sales

   and marketing operations are likewise based out of its San Jose headquarters. (Id. ¶ 22.) In fact,

   many of the relevant financial, marketing, and legal documents are accessible only through its

   employees in San Jose. (Id. ¶ 19.) While there are sales, commercial legal, and IT support teams

   located in Zoom’s Denver office, all of these teams report up to members of management in San

   Jose. (Id. ¶ 21.)

   III.   TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA IS
          WARRANTED

          “Change of venue in patent cases, like other civil cases, is governed by 28 U.S.C. §

   1404(a).” In re TS Tech USA Corp., 551 F.3d 1315, 1319 (Fed. Cir. 2008). Section 1404(a)

   provides that an action may be transferred to any other district or division where it might have

   been brought “[f]or the convenience of parties and witnesses, in the interest of justice.” 28

   U.S.C. § 1404(a). The decision whether to transfer an action lies within the sound discretion of

   the trial judge and should be based on an “individualized, case-by-case consideration of



   2
    Plaintiff in fact asserts the patent against “the CuriosityStream streaming platform”—a product
   with which Zoom has no affiliation—but also includes screenshots from Zoom’s Cloud
   Recording documentation. (Compl. ¶¶ 17-24).



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   convenience and fairness.” Texas E. Transmission Corp. v. Marine Office-Appleton & Cox

   Corp., 579 F.2d 561, 567 (10th Cir. 1978); Steward Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29

   (1988).

             In ruling on a motion to transfer venue, a court must determine both (1) whether the case

   may have been brought in the proposed transferee district and (2) whether the “competing

   equities” weigh in favor of transfer. Hustler Magazine, Inc. v. United States Dist. Court for the

   Dist. of Wyo., 790 F.2d 69, 71 (10th Cir. 1986). The Tenth Circuit has identified nine factors to

   be considered:

                    [1] the plaintiff’s choice of forum; [2] the accessibility of witnesses
                    and other sources of proof, including the availability of
                    compulsory process to insure attendance of witnesses; [3] the cost
                    of making the necessary proof; [4] questions as to the
                    enforceability of a judgment if one is obtained; [5] relative
                    advantages and obstacles to a fair trial; [6] difficulties that may
                    arise from congested dockets; [7] the possibility of the existence of
                    questions arising in the area of conflict of laws; [8] the advantage
                    of having a local court determine questions of local law; and, [9]
                    all other considerations of a practical nature that make a trial easy,
                    expeditious and economical.

   Chrysler Credit Corp. v. Country Chrysler, Inc., 928 F.2d 1509, 1516 (10th Cir. 1991) (citation

   omitted). Applied to the present case, these factors strongly support transfer to the Northern

   District of California.

             A.     This Action Could Have Been Filed in the Northern District of California

             Rothschild could have brought this patent infringement action against Zoom in the

   Northern District. Zoom is headquartered within that district and regularly conducts business

   there. See 28 U.S.C. § 1400(b) (“Any civil action for patent infringement may be brought in the

   judicial district where the defendant resides, or where the defendant has committed acts of

   infringement and has a regular and established place of business.”); TC Heartland LLC v. Kraft



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   Foods Grp. Brands LLC, 137 S. Ct. 1514 (2017) (interpreting § 1400(b)).

          B.      The Equities Weigh in Favor of Transfer

                  1.      Plaintiff’s Choice of Forum

          This factor weighs in favor of transfer. While a plaintiff’s choice of forum should

   ordinarily not be disturbed, little weight is given “where the facts giving rise to the lawsuit have

   no material relation or significant connection to the plaintiff’s chosen forum.” Employers Mut.

   Cas. Co. v. Bartile Roofs, Inc., 618 F.3d 1153, 1168 (10th Cir. 2010) (citation omitted). A

   plaintiff’s choice of forum is provided even less deference where, as here, the plaintiff does not

   reside in the district. See Sinochem Int’l Co. v. Malaysia Int’l Shipping Corp., 549 U.S. 422, 430

   (2007); see also Bailey v. Union Pac. R.R. Co., 364 F. Supp. 2d 1227, 1229-30 (D. Colo. 2005).

          As detailed above, Rothschild is a limited liability corporation headquartered in Miami,

   Florida and has not alleged a single tie to this District. The sole reason provided in the complaint

   for bringing suit in Colorado is because “Defendant’s instrumentalities that are alleged herein to

   infringe were and continue to be used, imported, offered for sale, and/or sold in the District.”

   (Compl. ¶ 6.) While Zoom does indeed sell the accused product in Colorado, it also sells these

   product globally 3 and has ten offices spread throughout the United States, Europe, and Asia.

   (Rao Decl. ¶¶ 9, 11); see Potter Voice Techs. v. Apple, Inc., No. 12-cv-01096-REB-CBS, 2013

   WL 1333483, at *3 (D. Colo. Mar. 29, 2013) (a plaintiff’s choice of forum is given “little

   weight” where “[t]he infringements alleged in the complaint take place in Colorado, but they

   also take place in every other district in the country.”) Zoom maintains a satellite office in



   3
    There are a small number of countries in which Zoom’s products are unavailable for regulatory
   or legal reasons.



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  Denver, however its headquarters are located in San Jose. (Rao Decl. ¶ 6.) The accused product

  was developed by Zoom’s San Jose and China-based research and development teams and is

  currently maintained by its engineering teams—also based in San Jose and China. (Id. ¶ 16.) As

  previously discussed, San Jose is also home to Zoom’s management, financial, legal, and sales

  and marketing operations. (Id. ¶ 22.)

         Plaintiff is a serial patent litigant and has, since 2015, asserted the ’221 patent against 70

  other defendants. While six of these cases were filed in the Northern District, this appears to be

  the first and only lawsuit it has brought in Colorado. Plaintiff has also sued entities in the

  Eastern District of Texas (30 cases), the District of Delaware (21 cases), and six other districts.

                 2.      The Accessibility of Witnesses and Sources of Proof

         This factor weighs strongly in favor of transfer. “The convenience of witnesses is the

  most important factor in deciding a motion [to transfer venue] under § 1404(a).” Employers

  Mut. Cas. Co., 618 F.3d at 1169 (citation omitted); see also Denver & Rio Grande W. R.R. Co. v.

  Brotherhood of R.R. Trainmen, 387 U.S. 556, 560 (1967) (“[V]enue is primarily a matter of

  convenience of litigants and witnesses.”). “To demonstrate inconvenience, the movant must (1)

  identify the witnesses and their locations; (2) indicate the quality of materiality of their

  testimony; and (3) show that any such witnesses were unwilling to come to trial, that deposition

  testimony would be unsatisfactory, or that the use of compulsory process would be necessary.”

  Employers Mut. Cas. Co., 618 F.3d at 1169 (alterations omitted) (internal quotation marks

  omitted) (citation omitted).

         The vast majority of witnesses and documents relevant to this case are located in the

  Northern District. Moreover, Zoom is aware of no relevant documents stored in Colorado. Rao




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  Decl. ¶ 19). “In patent infringement cases, the bulk of the relevant evidence usually comes from

  the accused infringer. Consequently, the place where the defendant’s documents are kept weighs

  in favor of transfer to that location.” In re Genentech, 566 F.3d 1338, 1345 (Fed. Cir. 2009)

  (citation omitted); see also Body Sci. LLC v. Boston Sci. Corp., No. 11 C 03619, 2012 WL

  718495, at *8 (N.D. Ill. Mar. 6, 2012) (“In patent infringement cases, the location of the

  infringer’s principal place of business is often the critical and controlling consideration because

  such suits often focus on the activities of the alleged infringer, its employees, and its documents,

  rather than upon those of the plaintiff.”) (internal quotation marks omitted) (citation omitted).

  The documents most likely to be relevant to this case are located in Zoom’s various engineering

  and sales databases—all of which are maintained from its San Jose headquarters. (Rao Decl. ¶

  20.) Likewise, the Zoom employees with knowledge of and access to its technical documents

  and source code are located almost exclusively in either San Jose or China. (Id. ¶ 18.)

         At trial, Zoom expects to call (1) its key technical engineers involved in the design and

  implementation of the accused product, (2) senior marketing staff familiar with the marketing

  and advertisement of the accused product, and (3) senior financial staff with knowledge of

  revenues, costs, forecasts, and negotiations related to the accused product. These teams are all

  based out of Zoom’s Northern California headquarters and are managed by the following

  individuals, likely to be called as witnesses:

         •   Brendan Ittelson, Chief Technology Officer, is based in San Jose, California and

             oversees Zoom’s technology strategy and innovation. (Rao Decl. ¶ 23.)

         •   Janine Pelosi, Chief Marketing Officer, is based in San Jose, California and oversees

             the company’s branding, communications, and product marketing. (Id. ¶ 24.)




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          •   Kelly Steckelberg, Chief Financial Officer, is based in San Jose, California and

              oversees Zoom’s financial planning and strategy. (Id. ¶ 25.)

          While the Northern District is substantially more convenient for Zoom, nothing suggests

  it would be less convenient for Rothschild. Zoom is not aware of any Rothschild witnesses

  based in this District and, given its incorporation in Texas and its Miami headquarters, any such

  witnesses are unlikely. If inventor testimony is sought by either party, the sole named inventor

  of the ’221 Patent, Leigh M. Rothschild, appears to be a Florida resident, making California no

  less convenient than Colorado. (Declaration of Andrew T. Jones submitted herewith (“Jones

  Decl.”) ¶ 3 & Ex. A.) Likewise, to the extent conduct before the Patent Office becomes an issue

  in this case, the attorneys responsible for prosecuting the asserted patent are based in Florida and

  Illinois. (Id. ¶ 4 & Ex. B.)

          While no third-party witnesses have yet been identified, it is substantially more likely,

  based on the technology involved and the parties’ weak or nonexistent ties to Colorado, that

  these witnesses will reside in the Northern District and that this Court may not be able to secure

  their attendance at trial. See Fed. R. Civ. P. 45(c) (“A subpoena may command a person to

  attend a trial, hearing, or deposition only . . . (B) within the state where the person resides, is

  employed, or regularly transacts business in person, if the person . . . (ii) is commanded to attend

  a trial and would not incur substantial expense.”)

                  3.      The Cost of Making the Necessary Proof

          This factor weighs strongly in favor of transfer. It is far less expensive and burdensome

  for Zoom to litigate in California, where both its headquarters and counsel are located, than for




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  its employees to regularly travel to and from Colorado. 4 See In re Acer Am. Corp., 626 F.3d

  1252, 1255 (Fed. Cir. 2010) (finding that the “significant expenses for airfare, meals, and

  lodging, as well as losses in productivity from time spent away at work” favored a transfer of

  venue from the Eastern District of Texas to the Northern District of California). This is

  especially so given the likelihood that witnesses would be required to travel to and from China.

  While Denver International Airport has only a single non-stop flight to Asia (landing in Tokyo),

  San Francisco International Airport has non-stop flights to six destinations in China alone.

  (Jones Decl. ¶ 5 & Ex. C.)

                   4.      Judgment Enforceability

            This factor is neutral. The enforceability of any judgment obtained in this matter will not

  be impacted by a change in venue.

                   5.      Relative Advantages and Obstacles to a Fair Trial

            This factor is neutral. There are no readily apparent advantages or obstacles to a fair trial

  in either venue.

                   6.      Difficulties that May Arise from Congested Dockets

            This factor weighs slightly in favor of transfer. “When evaluating the administrative

  difficulties of court congestion, the most relevant statistics are the median time from filing to

  disposition, median time from filing to trial, pending cases per judge, and average weighted

  filings per judge.” Employers Mut. Cas. Co., 618 F.3d at 1169. While the average caseload per

  judge is lower in this District, the median time to trial in patent cases in the Northern District

  over the past three years was 26.8 months, whereas the median time to trial for patent cases in


  4
      The same is likely true of Rothschild, given its location in Miami and its Texas-based counsel.



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  this District was 37.7 months. (Jones Decl. ¶ 6 & Ex. D.)

                  7.      Conflict of Laws

          This factor is neutral. Rothschild does not raise any issues in its complaint that implicate

  state, foreign, or other potentially conflicting laws.

                  8.      Advantages of Local Court Determining Local Law

          This factor is neutral. Both this District and the Northern District are fully and equally

  capable of correctly applying federal law.

                  9.      All Other Practical Considerations

          This factor favors transfer. While this is the first case in Colorado involving the ’221

  Patent, Plaintiff has asserted this patent in six separate actions filed in the Northern District.

  Both judicial economy and comity considerations weigh in favor of allowing a single judge or

  court to familiarize themselves with the patent and technology at issue in this case. In sum, “two

  federal courts should not be adjudicating the same issues.” Wine Masters Cellars, LLLP v.

  Vinotemp Intern. Corp., C.A. No. 11-cv-00623-WYD-KLM, 2011 WL 2621537, at *5 (D. Colo.

  July 1, 2011) quoting New York Marine and Gen. Ins. Co. v. Lafarge N. Am., 599 F.3d 102, 113

  n. 2 (2d Cir. 2010).

  IV.     CONCLUSION

          Zoom asks that the Court transfer this matter to the Northern District. Rothschild has

  alleged no connection to this District, nor has it identified any relevant evidence or witnesses

  located in Colorado.

   Dated: November 17, 2020                By: /s/ Timothy C. Saulsbury
                                               TIMOTHY C. SAULSBURY

                                                 Timothy C. Saulsbury




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                                      CERTIFICATE OF SERVICE

         I hereby certify that on this 17th day of November, 2020, I electronically filed a true and

  correct copy of the foregoing DEFENDANT ZOOM VIDEO COMMUNICATIONS, INC.’S

  MOTION TO TRANSFER VENUE UNDER 28 U.S.C. § 1404 with the Clerk of the Court

  using the CM/ECF system which will send notification of such filing to the following email

  addresses:

         jay@kjpllc.com
         ajones@durietangri.com

                                                             /s/ Timothy C. Saulsbury




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